Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 1 of 20 PageID #: 1360




                          EXHIBIT K
                    Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 2 of 20 PageID #: 1361




    U.S. Patent No. 10,102,449
    Claim 1        Exemplary Infringement Evidence1
    [1PRE] A       To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
    system for     vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer meet the
    autonomous     limitations of the claimed system.
    device
    operating, the The discussion and evidence cited in claims [17PRE-D] are incorporated herein.
    system
    comprising:
    [1A] one or    To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
    more           vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
    processor
    circuits;      The discussion and evidence cited in claims [17PRE-D] are incorporated herein.

                    Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the full self-driving
                    chip) programmed by code stored on one or more non-transitory machine readable media (i.e. RAM memory, SSD drive,
                    flash memory, hard drive, etc.) all part of Tesla full self-driving computer.




                    See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11 (Tesla full self driving
                    computer) and at 10:22 (Tesla full self driving chip).




1
    These infringement contentions are prepared with publicly available information.
                                                                     1
                  Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 3 of 20 PageID #: 1362




U.S. Patent No. 10,102,449




                  See https://www.tesla.com/support/autopilot


[1B] a            To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
memory that       vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
stores at least
a first one or    The discussion and evidence cited in claims [17A] are incorporated herein.
more digital
pictures
correlated
with a first
one or more
instructions
sets for
operating a
first physical
device,
wherein the
first physical
device
includes an
actuator for
moving at

                                                                   2
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 4 of 20 PageID #: 1363




U.S. Patent No. 10,102,449
least a portion
of the first
physical
device, and
wherein at
least a portion
of the first
one or more
digital
pictures or at
least a portion
of the first
one or more
instruction
sets for
operating the
first physical
device are
learned in a
learning
process that
includes
operating the
first physical
device at least
partially by a
user;
[1C]an          To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
optical         vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
camera that     an optical camera that captures digital pictures.
captures


                                                                 3
                 Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 5 of 20 PageID #: 1364




U.S. Patent No. 10,102,449
digital        For example, as a driver drives a first Tesla vehicle the processor of the first Tesla vehicle receives from the vehicle’s
pictures; and cameras (optical camera) the pictures depicting the vehicle’s surrounding (i.e. pedestrians, other vehicles, roads, buildings,
               etc.).




                See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00 (a stream of videos
                from eight cameras across the vehicle used to make a lane change).

                Further, the Model Y (an accused vehicle) has multiple cameras to depict a portion of the vehicle’s surrounding.




                                                                  4
Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 6 of 20 PageID #: 1365




                                      5
                 Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 7 of 20 PageID #: 1366




U.S. Patent No. 10,102,449
               See https://www.tesla.com/ownersmanual/modely/en_us/GUID-EDA77281-42DC-4618-98A9-CC62378E0EC2.html


                 The discussion and evidence cited in claims [17PRE-D] are incorporated herein.
[1D] an          To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
artificial       vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
intelligence     a system with an artificial intelligence unit a system that can receives a new one or more digital pictures from the optical
unit that:       camera.
receives a
new one or
more digital     The discussion and evidence cited in claims [17A-C] are incorporated herein.
pictures from
the optical
camera;
[1F]             To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
anticipates      vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
the first one    an artificial intelligence unit that can anticipate the first one or more instruction sets for operating the first physical device
or more          based on at least partial match between the new one or more digital pictures and the first one or more digital pictures,
instruction      wherein the anticipates includes at least one of: uses the one or more processor circuits to execute the first one or more
sets for         instruction sets for operating the first physical device, wherein the causes is performed in response to the anticipates of the
operating the    artificial intelligence unit, and wherein the first physical device or a second physical device autonomously performs one
first physical   or more operations defined by the first one or more instruction sets for operating the first physical device.
device based
on at least      The discussion and evidence cited in claims [17A-C] are incorporated herein.
partial match
between the
new one or
more digital
pictures and
the first one
or more
digital

                                                                     6
               Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 8 of 20 PageID #: 1367




U.S. Patent No. 10,102,449
pictures,
wherein the
anticipates
includes at
least one of:
determining
that a number
of at least
partially
matching
portions of
the new one
or more
digital
pictures and
portions of
the first one
or more
digital
pictures
exceeds a
threshold
number, or
determining
that a
percentage of
at least
partially
matching
portions of
the new one
or more

                                                     7
                 Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 9 of 20 PageID #: 1368




U.S. Patent No. 10,102,449
digital
pictures and
portions of
the first one
or more
digital
pictures
exceeds a
threshold
percentage;
and
[1G] causes    To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
the one or     vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer comprise
more           an artificial intelligence unit that can cause the one or more processor circuits to execute the first one or more instruction
processor      sets for operating the first physical device, wherein the causes is performed in response to the anticipates of the artificial
circuits to    intelligence unit, and wherein the first physical device or a second physical device autonomously performs one or more
execute the    operations defined by the first one or more instruction sets for operating the first physical device.
first one or
more           The discussion and evidence cited in claims [17D-E] are incorporated herein.
instruction
sets for
operating the
first physical
device,
wherein the
causes is
performed in
response to
the
anticipates of
the artificial
intelligence

                                                                   8
                  Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 10 of 20 PageID #: 1369




U.S. Patent No. 10,102,449
unit, and
wherein the
first physical
device or a
second
physical
device
autonomously
performs one
or more
operations
defined by
the first one
or more
instruction
sets for
operating the
first physical
device.
Claim 17       Exemplary Evidence
[17PRE] A      To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes
method         vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer meet the
comprising:    limitations of the claimed system.. performs this method.

                  The discussion and evidence cited in claims [17A-D] are incorporated herein.

[17A] (a)         The Tesla vehicles can (a) accessing a memory that that stores at least a first one or more digital pictures correlated with
accessing a       a first one or more instructions sets for operating a first physical device, wherein the first physical device includes an
memory that       actuator for moving at least a portion of the first physical device, and wherein at least a portion of the first one or more
stores at least   digital pictures or at least a portion of the first one or more instruction sets for operating the first physical device are learned
a first one or    in a learning process that includes operating the first physical device at least partially by a user, the accessing of (a)
more digital      performed by one or more processor circuits.

                                                                       9
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 11 of 20 PageID #: 1370




U.S. Patent No. 10,102,449
pictures
correlated      For example, each of the accused Tesla vehicles in the Tesla fleet (Models 3, S, X, Y, etc.) includes one or more processors
with a first    (e.g., the full self-driving chip) programmed by code stored on one or more non-transitory machine readable media (i.e.
one or more     RAM memory, SSD drive, flash memory, hard drive, etc.) all part of Tesla full self-driving computer.
instructions
sets for
operating a
first physical
device,
wherein the
first physical
device
includes an
actuator for
moving at
least a portion See Tesla Autonomy Day 2019 video, available at https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11 (Tesla full
of the first    self driving computer) and at 10:22 (Tesla full self driving chip).
physical
device, and
wherein at      The processor of the Tesla vehicle (the claimed “physical device”) accesses its memory that stores at least a knowledgebase
least a portion that includes a first circumstance representation (e.g., representation of pedestrians, other vehicles, roads, buildings, etc.)
of the first    correlated with a set of driving instructions (e.g., driving instructions for effecting speed, steering, breaking, trajectory,
one or more     etc.; the claimed “first one or more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”).
digital
pictures or at Further, each of the accused Tesla vehicles in the Tesla fleet (Models 3, S, X, Y, etc.) includes a motor (the claimed
least a portion actuator) for moving the car. For example, the Model Y includes rear motors on all models and front motors on AWD
of the first    models.
one or more
instruction
sets for
operating the
first physical

                                                                   10
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 12 of 20 PageID #: 1371




U.S. Patent No. 10,102,449
device are
learned in a
learning
process that
includes
operating the
first physical
device at least
partially by a See https://www.tesla.com/ownersmanual/modely/en_cn/GUID-E414862C-CFA1-4A0B-9548-BE21C32CAA58.html
user, the
accessing of    Further, as the driver drives the first Tesla vehicle (the claimed “first physical device”), the processor of the Tesla vehicle
(a) performed receives a set of driving instructions (i.e. driving instructions for effecting speed, steering, breaking, trajectory, etc.; the
by one or       claimed “first one or more instruction sets . . . learned in a learning process that includes operating the first physical
more            device at least partially by a user”) that the driver used to navigate the vehicle’s surrounding.
processor
circuits;




                                                                   11
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 13 of 20 PageID #: 1372




U.S. Patent No. 10,102,449

                See Tesla Autonomy Day 2019 video, available at https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10 (“While
                you are driving a car [the claimed “first physical device”] what you're actually doing is you are annotating the data
                because you are steering the wheel. You're telling us how to traverse different environments so what we're looking at here
                is some person in the vehicle who took a left through an intersection and what we do here is we have the full video of all
                the cameras and we know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                angle, the wheel ticks, so we put all that together and we understand the path that this person took through this environment
                [the learning of instructions]. And then of course we can use this for supervision for the network so we just source a lot
                of this from the vehicle, we train a neural network on those trajectories, and then the neural network predicts paths just
                from that data. … we're taking human trajectories from the real world we’re just trying to imitate how people drive in real
                worlds.”)

                See also Tesla AI Day 2021 video, available at https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
                human drivers are essentially training the neural net as to what is the correct course of action [the claimed driving
                instructions])

[17B] (b)       The one or more processing circuits within the Tesla vehicle can receive a new one or more digital picture form an optical
receiving a     camera.
new one or
more digital    For example, the Model Y, one vehicle within the Tesla vehicle, includes multiple cameras (the claimed optical
pictures from   camera).
an optical
camera, the
receiving of
(b) performed
by the one or
more
processor
circuits;




                                                                  12
               Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 14 of 20 PageID #: 1373




U.S. Patent No. 10,102,449




               See https://www.tesla.com/ownersmanual/modely/en_us/GUID-EDA77281-42DC-4618-98A9-CC62378E0EC2.html




                                                       13
                 Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 15 of 20 PageID #: 1374




U.S. Patent No. 10,102,449




                 See also Tesla Autonomy Day 2019 video, available at https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00 (a
                 stream of videos from eight cameras [the claimed “digital pictures from an optical camera”] across the vehicle used to
                 make a lane change).

[17C] (c)        The Tesla vehicle includes a processing circuit that can (c) anticipate the first one or more instruction sets for operating
anticipating     the first physical device based on at least partial match between the new one or more digital pictures and the first one or
the first one    more digital pictures, wherein the anticipating of (c) includes at least one of: determining that a number of at least partially
or more          matching portions of the new one or more digital pictures and portions of the first one or more digital pictures exceeds a
instruction      threshold number, or determining that a percentage of at least partially matching portions of the new one or more digital
sets for         pictures and portions of the first one or more digital pictures exceeds a threshold percentage, the anticipating of (c)
operating the    performed by the one or more processor circuits.
first physical
device based     For example, the processor of a Tesla vehicle anticipates a set of driving instructions (i.e. instructions for applying the
on at least      breaks or turning the wheel so the debris in the road is not hit; the claimed “first one or more instruction sets”) based on
partial match    similarity (the claimed “at least partial match”) between the first circumstance representation (i.e. picture of debris on the

                                                                    14
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 16 of 20 PageID #: 1375




U.S. Patent No. 10,102,449
between the    road, etc. as previously learned on a Tesla vehicle) and a second picture (i.e. picture of a different piece of debris as
new one or     currently captured by the sensors of another Tesla vehicle). Therefore, Tesla vehicles anticipate previously learned driving
more digital   instructions based on threshold similarity between the different pictures.
pictures and
the first one
or more
digital
pictures,
wherein the
anticipating
of (c)
includes at
least one of:
determining
that a number
of at least
partially
matching
portions of
the new one
or more
digital
pictures and
portions of
the first one
or more
digital
pictures       See Tesla AI Day 2019, available at https://www.youtube.com/watch?v=Ucp0TTmvqOE
exceeds a
threshold      Each Tesla vehicle is taught by the collection of data from across the Fleet.
number, or
determining

                                                                 15
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 17 of 20 PageID #: 1376




U.S. Patent No. 10,102,449
that a
percentage of
at least
partially
matching
portions of
the new one
or more
digital
pictures and
portions of
the first one
or more
digital
pictures
exceeds a
threshold
percentage,
the
anticipating
of (c)
performed by
the one or
more
processor
circuits;


[17D] (d)       The Tesla vehicle can (d) execute the first one or more instruction sets for operating the first physical device, the executing
executing the   of (d) performed by the one or more processor circuits or by another one or more processor circuits in response to the
first one or    anticipating of (c). The discussion and evidence cited in claims [17C] is incorporated herein.
more

                                                                  16
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 18 of 20 PageID #: 1377




U.S. Patent No. 10,102,449
instruction    For example, the processor of a Tesla vehicle (the claimed “first physical device” or “second physical device” in the
sets for       following limitation) executes, at least in response to the anticipating the previously learned set of driving instructions
operating the (the claimed “first one or more instruction sets for operating the first physical device”) so that a vehicle (the claimed
first physical “first” or “second physical device”) can drive autonomously based on the driving instructions learned on the first Tesla
device, the    vehicle (the claimed “first physical device”).
executing of
(d) performed For instance, memory of the second Tesla vehicle stores digital pictures (e.g., debris in the road) correlated with a set of
by the one or driving instructions (e.g., instructions for turning the wheel to safely so that the debris is not hit; the claimed “first one
more           or more instruction sets”) that have previously been learned on a first Tesla vehicle (the claimed “first physical device”)
processor      and have been transferred to other Tesla vehicles (the claimed “first” or “second physical device”) via the vehicle over-
circuits or by the-air (OTA) software update. In response to determining that a new digital image (e.g., representation of different debris
another one    currently in front the vehicle), is similar to (the claimed “at least partial match”) the previously learned digital images
or more        (e.g., representation of a pedestrian previously in front the vehicle, representation of previously surrounding vehicles in a
processor      lane change situation, representation of a previous intersection in a left turn situation, etc.), the processor of the Tesla
circuits in    vehicle (the claimed “first” or “second device”) causes the previously learned driving instruction (e.g., instructions for
response to    avoiding the debris) to be executed.
the
anticipating
of (c); and




                                                                  17
                Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 19 of 20 PageID #: 1378




U.S. Patent No. 10,102,449




                See Tesla AI Day 2019, available at https://www.youtube.com/watch?v=Ucp0TTmvqOE




[17E] (e)      The Tesla Vehicle can (e) autonomously perform, by the first physical device or by a second physical device, one or more
autonomously operations defined by the first one or more instruction sets for operating the first physical device. The discussion and
performing,    evidence cited in claims [17C-D] is incorporated herein.
by the first
physical
device or by a
second
physical

                                                               18
               Case 1:22-cv-01466-MN Document 1-11 Filed 11/07/22 Page 20 of 20 PageID #: 1379




U.S. Patent No. 10,102,449
device, one or
more
operations
defined by
the first one
or more
instruction
sets for
operating the
first physical
device.




                                                     19
